Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 1 of 23 PageID #: 42523




                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



  NETLIST, INC.                              Civil Case No. 2:21cv463-JRG

             Plaintiff,                      JURY TRIAL DEMANDED

  v.

  SAMSUNG ELECTRONICS CO., LTD.,
  SAMSUNG ELECTRONICS AMERICA, INC.
  and SAMSUNG SEMICONDUCTOR, INC.,

             Defendants.



   SAMSUNG’S OPPOSITION TO NETLIST’S MOTION TO STRIKE PORTIONS OF
     THE OPENING EXPERT REPORT OF JOSEPH MCALEXANDER (Dkt. 212)
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 2 of 23 PageID #: 42524




                                               TABLE OF CONTENTS


 I.    ARGUMENT ...................................................................................................................... 1
       A.        Mr. McAlexander’s Written Description Opinions Are Proper.............................. 1
                 1.         Mr. McAlexander’s Written Description Opinions Are Not Claim
                            Construction Opinions ................................................................................ 1
                 2.         Mr. McAlexander Applied the Proper Legal Framework ........................... 6
                 3.         Samsung Complied with the Local Rules ................................................... 7
       B.        Mr. McAlexander’s Opinions About the ’339 Patent’s “Drive” Terms Are Based
                 on the Court’s Construction .................................................................................... 8
       C.        Mr. McAlexander’s Equitable Defense Opinions and the Underlying Facts Are
                 Properly Included in His Report ............................................................................. 9
       D.        Mr. McAlexander’s Opinions About Netlist’s Relationship to JEDEC Are
                 Relevant .................................................................................................................. 9
       E.        Mr. McAlexander’s Reliance on Prior Art Is Proper ............................................ 11
       F.        Mr. McAlexander’s Opinions Regarding Other Litigation Are Relevant ............ 13
       G.        Mr. McAlexander’s Reliance on Background Art Is Proper ................................ 14
 II.   CONCLUSION ................................................................................................................. 15




                                                                   i
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 3 of 23 PageID #: 42525




                                                   TABLE OF AUTHORITIES

                                                                                                                                         Page(s)

 Cases

 01 Communique Lab., Inc. v. Citrix Sys., Inc.,
    889 F.3d 735 (Fed. Cir. 2018)....................................................................................................2

 Allergan v. Teva,
     No. 15-cv-1455-WCB, 2017 U.S. Dist. LEXIS 225041 (E.D. Tex. Aug. 3,
     2017) ........................................................................................................................................15

 Carnegie Mellon Univ. v. Hoffmann-La Roche Inc.,
    541 F.3d 1115 (Fed. Cir. 2008)..................................................................................................6

 Cisco Sys., Inc. v. Cirrex Sys., LLC,
    856 F.3d 997 (Fed. Cir. 2017)................................................................................................5, 6

 Ericsson Inc. v. TCL Commc’n Tech. Holdings, Ltd.,
     161 F. Supp. 3d 438 (E.D. Tex. 2015) .......................................................................................2

 Gentry Gallery, Inc. v. Berkline Corp.,
    134 F.3d 1473 (Fed. Cir. 1998)..................................................................................................6

 GoPro, Inc. v. Contour IP Holding LLC,
   908 F.3d 690 (Fed. Cir. 2018)..................................................................................................11

 Liebel-Flarsheim Co. v. Medrad, Inc.,
    481 F.3d 1371 (Fed. Cir. 2007)..................................................................................................6

 LizardTech, Inc. v. Earth Res. Mapping, Inc.,
     424 F.3d 1336 (Fed. Cir. 2005)..................................................................................................1

 M & K Holdings, Inc. v. Samsung Elec. Co.,
    985 F.3d 1376 (Fed. Cir. 2021)................................................................................................11

 Nuvo Pharms. (Ireland) Designated Activity Co. v. Dr. Reddy’s Labs. Inc.,
    923 F.3d 1368 (Fed. Cir. 2019)..............................................................................................4, 5

 Oyster Optics, LLC v. Cisco Sys., Inc.,
    No. 2:20-cv-00211-JRG, Dkt. No. 239 (E.D. Tex. Dec. 13, 2021) ...........................................1

 Personalized Media Commc’ns, LLC v. Apple, Inc.,
    552 F. Supp. 3d 664 (E.D. Tex. 2021) .....................................................................................10

 Realtime Data, LLC v. Actian Corp.,
    No. 6:15-cv-463, 2017 WL 11662040 (E.D. Tex. Apr. 3, 2017) ..............................................2
                                                                          i
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 4 of 23 PageID #: 42526




 Rivera v. Int’l Trade Comm’n,
    857 F.3d 1315 (Fed. Cir. 2017)..............................................................................................1, 2

 Seagen Inc. v. Daiichi Sankyo Co.,
    No. 2:20-CV-00337-JRG, 2022 WL 2789901 (E.D. Tex. July 15, 2022) .................................9

 Ultravision Techs., LLC v. Lamar Advert. Co.,
     No. 2:16-CV-374-JRG-RSP, 2017 WL 3836139 (E.D. Tex. Apr. 18, 2017) ............................7

 United Servs. Auto. Ass’n v. PNC Bank N.A.,
    No. 220-CV-00319-JRG-RSP, 2022 WL 1300832 (E.D. Tex. Apr. 29, 2022) .........................7

 Versata Software, Inc. v. SAP Am., Inc.,
    758 F. Supp. 2d 389 (E.D. Tex. 2010) .....................................................................................11

 Ware v. Abercrombie & Fitch Stores Inc.,
   No. 4:07-CV-00122, 2011 WL 13322747 (N.D. Ga. Oct. 17, 2011) ........................................1

 Ziilabs Inc. v. Samsung Elecs. Co.,
     No. 2:14-cv-203, 2015 WL 7303352 (E.D. Tex. Aug. 25, 2015) ............................................15

 Zoho Corp. v. Sentius Int’l, LLC,
    494 F. Supp. 3d. 693 (N.D. Cal. 2020) ......................................................................................7

 Statutes

 35 U.S.C. § 102 ........................................................................................................................11, 12




                                                                      ii
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 5 of 23 PageID #: 42527




          Netlist provides no valid reason to strike any portion of Mr. McAlexander’s opening

 report. As set forth below, Netlist’s superficial critiques are incorrect, and at best go to the

 weight of the evidence, not admissibility. Netlist’s motion should be denied.

 I.       ARGUMENT

          A.     Mr. McAlexander’s Written Description Opinions Are Proper

                 1.     Mr. McAlexander’s Written Description Opinions Are Not Claim
                        Construction Opinions

          Netlist asserts without basis that Mr. McAlexander’s written description opinions are

 improper “claim construction arguments.” Dkt. No. 212 at 1. Mr. Alexander does not attempt to

 define terms in the asserted patents. Rather, Mr. McAlexander’s opinions compare the scope of

 the specification to the scope of the claims to consider whether the claims lack written

 description support. This analysis is separate and distinct from a claim construction inquiry.

          Mr. McAlexander’s written description opinions properly consider both the applicable

 claim construction order as well as the scope of the claims defined by Netlist in its infringement

 assertions. The Federal Circuit and other courts have approved of both approaches. See Rivera

 v. Int’l Trade Comm’n, 857 F.3d 1315, 1319 (Fed. Cir. 2017) (considering whether the scope of

 “the asserted claims read on Solofill’s K2 and K3 cup-shaped containers” and finding “written

 description support for broad claims covering a receptacle . . . such as Solofill’s accused products

 . . . . is lacking”).1 The written description requirement asks a fundamental question—did the


      1
     See also LizardTech, Inc. v. Earth Res. Mapping, Inc., 424 F.3d 1336, 1346 (Fed. Cir. 2005)
 (“Although the specification would meet the requirements of section 112 with respect to a claim
 directed to that particular engine, it would not necessarily support a broad claim to every possible
 type of fuel-efficient engine . . . .”); Ex. 1 (Oyster Optics, LLC v. Cisco Sys., Inc., No. 2:20-cv-
 00211-JRG, Dkt. No. 239, at 3 (E.D. Tex. Dec. 13, 2021) (denying motion to strike (attached as
 Ex. 12 at 11) Defendant’s expert’s opinion that the claims as interpreted for infringement lack
 written description)); see also Ware v. Abercrombie & Fitch Stores Inc., No. 4:07-CV-00122,
 2011 WL 13322747, at *20 (N.D. Ga. Oct. 17, 2011) (“The issue here is whether or not the ’592


                                                   1
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 6 of 23 PageID #: 42528




 inventors describe their invention in such terms as to demonstrate full possession of the claimed

 subject matter at the time of filing. Id. (“A specification has an adequate written description

 when it ‘reasonably conveys to those skilled in the art that the inventor had possession of the

 claimed subject matter as of the filing date’ of the patent . . . ‘The test requires an objective

 inquiry into the four corners of the specification from the perspective of a person of ordinary

 skill in the art . . . to show that the inventor actually invented the invention claimed.’” (quoting

 Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc))). Netlist

 should not be permitted to levy unreasonably broad infringement assertions without

 demonstrating that its inventors satisfied the written description requirement based on the limited

 specification they submitted. If Netlist maintains its overbroad interpretation to support its

 infringement claim, it must face the consequences with regard to invalidity. See 01 Communique

 Lab., Inc. v. Citrix Sys., Inc., 889 F.3d 735, 742 (Fed. Cir. 2018) (permitting defendant’s

 argument that claims would be invalid if plaintiff attempted to expand claims to capture accused

 products).2

        In arguing that Mr. McAlexander’s written description opinions are based on purportedly

 waived claim constructions, Netlist forgets that the factual issue of written description is

 appropriately analyzed after claim construction. See Ericsson Inc. v. TCL Commc’n Tech.

 Holdings, Ltd., 161 F. Supp. 3d 438, 457 n.7 (E.D. Tex. 2015) (“‘Whether a patent claim is

 supported by an adequate written description is a question of fact,’ and therefore the Court will




 specification supports claim 1 as now asserted by plaintiffs in order to sustain their charge of
 infringement.”).
   2
     Cf. Realtime Data, LLC v. Actian Corp., No. 6:15-cv-463, 2017 WL 11662040, at *10 (E.D.
 Tex. Apr. 3, 2017) (“[Defendant’s expert] is allowed to assume for purposes of his analysis that
 [Plaintiff’s] understanding of the construed claims is correct and demonstrate how, in his
 opinion, each element of the claims is found in the prior art under that interpretation.”).
                                                    2
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 7 of 23 PageID #: 42529




 not decide this issue at the claim construction stage” (quoting Abbvie Deutschland GmbH & Co.

 v. Janssen Biotech, Inc., 759 F.3d 1285, 1297 (Fed. Cir. 2014))). Mr. McAlexander’s opinions

 properly apply, in certain instances, Netlist’s broad claim interpretations to compare that scope

 with the support in the specification. See, e.g., Dkt. No. 212 at 2.

        Mr. McAlexander’s ’506 Patent Written Description Opinions: The ’506 patent’s

 claims recite “determining” a “predetermined amount” of delay to apply to a read strobe. Mr.

 McAlexander opines that the written description requirement is not satisfied based on Netlist’s

 expanded interpretation of the claims for purposes of infringement, which permits the

 “determining” to take place off the memory module. Ex. 2 at ¶¶ 178-198.3 Given that the claims

 must be interpreted in the same way for infringement and validity, Mr. McAlexander analyzes

 the validity of the claims in view of Netlist’s interpretation (which goes beyond the plain

 meaning) and concludes the specification “does not provide support for ‘determining’ the delay

 outside of the data buffer or outside of the memory module,” and therefore “fails to reasonably

 convey to one of ordinary skill in the art that the inventors had possession of the subject matter

 of the claimed invention.” Id. at ¶ 198.

        Mr. McAlexander’s analysis of the specification is not advancing a new claim

 construction—it is the heart of any written description analysis to determine whether the

 specification discloses the asserted claim scope. Here, Mr. McAlexander opines that the

 specification discloses “determining” by only the data buffer on the memory module such that it

 does not provide written description support for Netlist’s interpretation that includes off-module

 determinations. Id. at ¶¶ 181-193, 196. Mr. McAlexander’s reliance on a named inventor’s



  3
    Citations herein are to Mr. McAlexander’s corrected Opening Report, which Netlist attached
 as Exhibit 1 to its motion. While Netlist’s motion frequently cites to Exhibit 1, it appears to rely
 on the paragraph numbering in the uncorrected version of Mr. McAlexander’s Opening Report.
                                                   3
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 8 of 23 PageID #: 42530




 testimony and Netlist’s own statements during prosecution of a related patent confirms the scope

 of the specification—namely, that it does not contemplate “determining” of a delay anywhere but

 on the memory module. Id. at ¶¶ 194-195, 197; see Nuvo Pharms. (Ireland) Designated Activity

 Co. v. Dr. Reddy’s Labs. Inc., 923 F.3d 1368, 1381 (Fed. Cir. 2019) (“Although inventor

 testimony cannot establish written description support where none exists in the four corners of

 the specification, it illuminates the absence of critical description in this case.”).

         Mr. McAlexander’s analysis is similar with regard to the “previous operation” and

 “before” terms of claims 1 and 14 of the ’506 patent. He does not dispute the constructions of

 these claim terms. Rather, he opines that the specification does not provide disclosure

 commensurate with the claims as Netlist interprets them for infringement purposes. Mr.

 McAlexander explains that the specification discloses “determining” only during a normal write

 memory operation that occurs prior to the delayed read operation. Ex. 2 at ¶¶ 200, 212; see also

 id. at ¶¶ 201-209, 213-221. Based on this analysis, he concludes that a POSITA would not

 understand the inventors of the ’506 patent to have purportedly invented a memory module

 where the delay of a read operation is determined outside of a normal write memory operation,

 as Netlist asserts in its infringement accusations. Id. at ¶¶ 210, 222.

         Mr. McAlexander’s ’918 and ’054 Patents Written Description Opinions: The Court

 should also deny Netlist’s attempt to exclude Mr. McAlexander’s opinion that the scope of the

 ’918 and ’054 patents’ claims Netlist advances for infringement lacks written description. Dkt.

 No. 212 at 4-6, 12-13. Sections 9.7.1, 9.7.2, and 9.7.4 of Mr. McAlexander’s report do not offer

 claim construction opinions or “argu[e] that limitations must be imported into the claims.” Dkt.

 No. 212 at 4-5, 12. Instead, they present Mr. McAlexander’s opinion that the claims, as

 construed by the Court and applied by Netlist to show infringement, lack adequate support in the



                                                    4
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 9 of 23 PageID #: 42531




 specification because they are of a much broader scope than what the inventors clearly regarded

 as their invention. Cisco Sys., Inc. v. Cirrex Sys., LLC, 856 F.3d 997, 1007 (Fed. Cir. 2017)

 (“[A] broad claim is invalid when the entirety of the specification clearly indicates that the

 invention is of a much narrower scope.” (quoting Carnegie Mellon Univ. v. Hoffmann-La Roche

 Inc., 541 F.3d 1115, 1127 (Fed. Cir. 2008))). Mr. McAlexander concludes that, “[w]ithout a

 requirement for non-volatile memory, the claimed ‘memory modules’ of the ’918 and ’054

 Patents” broadly recite generic aspects of memory modules and “fail to capture what the

 inventors clearly understood and regarded as their invention.” Ex. 2 at ¶ 1971; see also, e.g., id.

 at ¶¶ 1981, 1990. The evidence relied upon by Mr. McAlexander in forming those opinions,

 including patents in the same family, inventor testimony, and elements of the patent including

 the title, are all relevant and likewise should survive Netlist’s challenge. See Nuvo Pharms., 923

 F.3d at 1381.

        Mr. McAlexander analyzes the validity of the asserted ’918 and ’054 patents’ claims

 reciting “non-volatile memory” “[u]sing Netlist’s apparent claim scope as gleaned from its

 infringement allegations.” Ex. 2 at ¶ 1996; Dkt. No. 212 at 5. He concludes that the patents

 “fail[] the written description requirement because the infringement theory relies on a claim

 scope that encompasses writing error data into registers of a power management component of

 the memory module, which is subject matter absent from the specification.” Ex. 2 at ¶ 1996.

 Mr. McAlexander’s observation that “[t]he claims of the ’918 Patent also separately recite ‘non-

 volatile memory’ and ‘registers’” is not claim construction. Id. at ¶ 2004. Rather, Mr.

 McAlexander considers those claims analyzing the specification, and concludes that they “are

 consistent with the distinct usage of ‘non-volatile memory’ and ‘registers’ in the specification

 [which] further demonstrate[s] that the specification of the ’918 and ’054 Patents fails to provide



                                                  5
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 10 of 23 PageID #: 42532




 support for writing error data to registers in response to a trigger signal.” Id. at ¶ 2006.

        Mr. McAlexander conducts a similar analysis with respect to the claims reciting “voltage

 amplitude[s].” Dkt. No. 212 at 5. Mr. McAlexander considers “Netlist’s apparent[] claim scope

 as gleaned from its infringement allegations . . . that encompasses the claimed ‘voltage

 amplitude(s)’ and ‘voltage level’ having the same meaning,” and determines that the

 specification does not support such breadth. Ex. 2 at ¶¶ 2012-2015.

        With regard to the “buck converter” term, Mr. McAlexander similarly concludes that

 “Netlist’s apparent claim scope as gleaned from its infringement allegations” lacks written

 description support “because the infringement theory relies on a claim scope that encompasses

 generating the same voltage value from two or more buck converters on the memory module,

 which is subject matter absent from the specification of the ’918 and ’054 Patents.” Id. at ¶

 2025. It is proper for Mr. McAlexander to consider Netlist’s overbroad interpretation for

 purposes of invalidity. Like the Plaintiff in Liebel-Flarsheim, Netlist put itself into this

 predicament by advancing a broader claim scope in the hope of capturing Samsung’s products,

 even though the specifications fail to support such breadth. Liebel-Flarsheim Co. v. Medrad,

 Inc., 481 F.3d 1371, 1380 (Fed. Cir. 2007). Netlist’s motion should be denied.

                2.      Mr. McAlexander Applied the Proper Legal Framework

        Netlist’s argument that overbreadth of the ’918 and ’054 patents’ claims “is not a legally

 relevant basis for written description” is incorrect as a matter of law. Dkt. No. 212 at 12.

 Although there is no “‘essential element’ test mandating an inquiry into what an inventor

 considers to be essential to his invention and requiring that the claims incorporate those

 elements,” it is nevertheless true that a “broad claim is invalid when the entirety of the

 specification clearly indicates that the invention is of a much narrower scope.” Cisco, 856 F.3d

 at 1007-08; see also Carnegie Mellon, 541 F.3d at 1127; Gentry Gallery, Inc. v. Berkline Corp.,
                                                   6
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 11 of 23 PageID #: 42533




 134 F.3d 1473, 1479 (Fed. Cir. 1998).

        Thus, Mr. McAlexander’s written description analysis follows the appropriate legal

 framework. He considers the evidence and concludes “the independent claims of the ’918 and

 ’054 Patents are divorced from memory modules having both volatile and non-volatile memory

 on a single DIMM that the inventors regarded as their invention.” Ex. 2 at ¶ 1981. Although

 Netlist disagrees with Mr. McAlexander’s reliance on certain evidence, including prior art, the

 “‘[w]ritten description analyses are highly fact specific’ and vary depending on the context and

 background state of the art.” Zoho Corp. v. Sentius Int’l, LLC, 494 F. Supp. 3d. 693, 705 (N.D.

 Cal. 2020) (quoting Nuvo Pharms., 923 F.3d at 1383). The Court should reject Netlist’s attempt

 to strike Mr. McAlexander’s written description opinions.

                3.      Samsung Complied with the Local Rules

        Netlist’s assertion that “Samsung failed to disclose any of these theories during

 discovery” is false. Dkt. No. 212 at 14. Samsung’s invalidity contentions identify each of the

 terms on which Mr. McAlexander opines and note that the applicable specifications fail to

 provide written description for the identified terms. See, e.g., Ex. 3 at 347-49, 354-59, 367-69,

 372-74. Although Netlist complains that “Samsung did not provide any detail in its contentions”

 (Dkt. No. 212 at 15), Samsung identified the terms and applicable specifications, and in any

 event, the Local Rules and District precedent do not require additional detail. See United Servs.

 Auto. Ass’n v. PNC Bank N.A., No. 220-CV-00319-JRG-RSP, 2022 WL 1300832, at *2 (E.D.

 Tex. Apr. 29, 2022) (finding invalidity contentions that identify claim terms that are not enabled

 “sufficiently put [plaintiff] on notice as to [defendant’s] enablement positions and allowed for

 [plaintiff] to engage in meaningful discovery and to prepare its case.” (internal quotations and

 citations omitted)); see also Ultravision Techs., LLC v. Lamar Advert. Co., No. 2:16-CV-374-

 JRG-RSP, 2017 WL 3836139, at *2 (E.D. Tex. Apr. 18, 2017) (“The identification of specific
                                                  7
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 12 of 23 PageID #: 42534




 claim terms and the § 112 grounds pertaining to that term is sufficient notice for Plaintiff to

 engage in meaningful discovery and to prepare its case.”).

           Samsung indisputably complied with the Local Rules. Moreover, Netlist has suffered no

 prejudice. Samsung put Netlist on notice of its invalidity theories and disclosed all of the

 information on which Mr. McAlexander relies (i.e., the asserted patents). Samsung also included

 this same information in its response to Interrogatory Nos. 9 and 24, and Netlist never asked for

 more detail concerning Samsung’s contentions. See, e.g., Ex. 4 at 117; Ex. 5 at 42. Finally,

 Samsung served an interrogatory asking Netlist for its contentions as to why it disagrees with

 Samsung, and Netlist provided even less detail. Ex. 6 at 47. Netlist’s request should be denied.

           B.     Mr. McAlexander’s Opinions About the ’339 Patent’s “Drive” Terms Are
                  Based on the Court’s Construction

           Netlist’s mischaracterization of Judge Payne’s Claim Construction Order with regard to

 the “drive” claim terms shows that it is blatantly ignoring both the construction and Judge

 Payne’s explanation of that construction. Mr. McAlexander quotes the Court’s construction of

 the “drive” terms and applies the construction in his analysis as it is stated in the Court’s Order:

 “enabling only one of the data paths while the other possible paths are disabled.” Ex. 2 at ¶

 237,4 Dkt. No. 114 at 34. Netlist, on the other hand, distorts the plain meaning of the Court’s

 construction and attempts to use the Court’s direction to the parties to refrain from mentioning its

 opinion in the presence of the jury as a shield for its egregious manipulation of the Court’s order.

 Dkt. No. 212 at 4, Dkt. No. 114 at 35.

           Netlist’s position appears to be that neither party’s expert may quote any portion of the

 Court’s opinion other than the constructions in their report, but Netlist’s own expert does exactly

 what Netlist argues Samsung’s expert may not do. See Ex. 7 at Ex. A, ¶ 210 (quoting statement


   4
       All emphasis is added unless noted otherwise.
                                                    8
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 13 of 23 PageID #: 42535




 from p.10 of the Court’s Claim Construction Order that is not the actual construction); see also

 id. at Ex. A, ¶ 201; id. at Ex. B, ¶¶ 124, 289 (quoting or paraphrasing statements from the

 Court’s Claim Construction Order that are not the actual constructions). Mr. McAlexander’s

 quotes of the Court’s opinion are not “cherry-pick[ed] statements,” as Netlist accuses, but rather

 the Court’s own explanation of its construction, which is contrary to the meaning Netlist is using

 as the basis for its infringement allegations. See Ex. 7 at Ex. A, ¶ 210



                                          . Mr. McAlexander included this information to counter

 Netlist’s misrepresentations as to the Court’s construction, which are themselves improper.

 Nevertheless, Samsung will not offer testimony as to the Court’s claim construction order unless

 Netlist itself is permitted to do so.

         C.      Mr. McAlexander’s Equitable Defense Opinions and the Underlying Facts
                 Are Properly Included in His Report

         The fact that certain opinions of Mr. McAlexander relate to equitable defenses is not a

 basis for exclusion. Experts routinely express opinions in expert reports regarding such equitable

 defenses, which are ultimately addressed by the Court. See Seagen Inc. v. Daiichi Sankyo Co.,

 No. 2:20-CV-00337-JRG, 2022 WL 2789901, at *1-2 (E.D. Tex. July 15, 2022). It is not

 necessary to separate evidence relevant to jury issues and equitable issues in an expert report,

 and Netlist has provided no precedent to the contrary. The underlying facts are also relevant to

 other issues, including infringement, invalidity, and standard essentiality, and Mr. McAlexander

 should be permitted to testify about them. The Court should deny Netlist’s motion.

         D.      Mr. McAlexander’s Opinions About Netlist’s Relationship to JEDEC Are
                 Relevant

         Despite Netlist’s protests, Mr. McAlexander’s analysis of the facts that led up to the

 issuance of the ’506 and ’339 patents is highly relevant. Netlist seeks to silence Mr.

                                                  9
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 14 of 23 PageID #: 42536




 McAlexander’s description about “Netlist’s involvement in JEDEC, the amount of continuations

 that preceded the issued claims, and ITC proceedings involving unasserted patents.” Dkt. No.

 212 at 6. But Netlist’s actions in each of these venues are highly relevant to several issues in this

 case, including prosecution laches and inequitable conduct, as well as issues of damages, non-

 infringement, and willfulness.5

           For example, Netlist’s JEDEC and litigation activity and prosecution history of the ’339

 patent’s family are relevant to the issue of prosecution laches. See Ex. 2 at ¶ 129-156.

 “Prosecution laches as a defense to infringement requires proof of two elements: (a) that the

 patentee’s delay in prosecution was unreasonable and inexcusable under the totality of the

 circumstances; and (b) that the accused infringer or the public suffered prejudice attributable to

 the delay.” Personalized Media Commc’ns, LLC v. Apple, Inc., 552 F. Supp. 3d 664, 684 (E.D.

 Tex. 2021) (citations omitted). Mr. McAlexander’s opinions regarding the evolution of the

 technical scope of the claims of the ’339 patent’s family during its prosecution—demonstrated

 by Netlist’s prosecution, litigation and JEDEC activity—are therefore proper under the “totality

 of the circumstances” and should not be struck.

           Netlist’s JEDEC activity and prosecution history of the ’506 patent’s family are also

 relevant to inequitable conduct. See Ex. 2 at ¶¶ 1187-1199. Mr. McAlexander’s opinions are

 based on his technical analysis of the disclosures made at JEDEC meetings attended by a named

 inventor of the ’339 and ’506 patents in view of the purported scope of these patents according to

 Netlist’s infringement allegations. “A party may show inequitable conduct by producing clear

 and convincing evidence of (1) material prior art, (2) knowledge chargeable to the patent

 applicant of prior art and its materiality, and (3) the applicant's failure to disclose the prior art to



   5
       See also Samsung’s Opposition to Netlist’s Motion To Strike Opinions of John B. Halbert.
                                                    10
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 15 of 23 PageID #: 42537




 the PTO with intent to mislead.” Versata Software, Inc. v. SAP Am., Inc., 758 F. Supp. 2d 389,

 392 (E.D. Tex. 2010) (citations omitted). “The intent element of the offense is thus in the main

 proven by inferences drawn from facts, with the collection of inferences permitting a confident

 judgment that deceit has occurred.” Id. at 393 (quoting Akron Polymer Container Corp. v. Exxel

 Container, Inc., 148 F.3d 1380, 1384 (Fed. Cir. 1998)). In fact, Netlist itself made its

 involvement in JEDEC relevant when it relied on JEDEC specifications in its initial allegations

 of infringement. See Ex. 8. The Court should deny Netlist’s motion.

        E.      Mr. McAlexander’s Reliance on Prior Art6 Is Proper

        JEDEC Documents: Netlist does not dispute that (1) the JEDEC Documents comprising

 proposals, ballots, and meeting minutes were presented at JEDEC meetings and accessible to its

 members, or that (2) the dates of the JEDEC Documents satisfy 35 U.S.C. § 102. Rather, Netlist

 appears to focus its argument on an alleged lack of public accessibility. Dkt. No. 212 at 7-11.

        “A reference will be considered publicly accessible if it was disseminated or otherwise

 made available to the extent that persons interested and ordinarily skilled in the subject matter or

 art exercising reasonable diligence, can locate it.” M & K Holdings, Inc. v. Samsung Elec. Co.,

 985 F.3d 1376, 1379 (Fed. Cir. 2021) (quotations omitted). “‘[A]ccessibility goes to the issue of

 whether interested members of the relevant public could obtain the information if they wanted

 to’ and ‘[i]f accessibility is proved, there is no requirement to show that particular members of

 the public actually received the information.’” GoPro, Inc. v. Contour IP Holding LLC, 908

 F.3d 690, 693 (Fed. Cir. 2018). As Mr. McAlexander explained, the JEDEC Documents were

 “accessible to many (20+) key members of the interested public (i.e., the JEDEC member

 companies in those committees) with the expectation their teachings would be freely disclosed to


   6
    Netlist also filed a Motion for Partial Summary Judgment Finding JEDEC Materials Are Not
 Publicly Accessible. See Dkt. No. 209. Samsung refers the Court to its opposition thereto.
                                                  11
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 16 of 23 PageID #: 42538




 and discussed with others.” Ex. 2 at ¶ 1175. The interested public, therefore, could obtain the

 information if they wanted to, given that entities from the public at large can easily become

 JEDEC members by applying online and paying a fee. Contrary to Netlist’s assertion, a Google

 search is not the proper test for public accessibility. Dkt. No. 212 at 7.

        Netlist also argues that the JEDEC Documents are not “evidence of knowledge of a

 POSA” but rather “a person of extraordinary skill.” Dkt. No. 212 at 9. Netlist appears to base

 this argument on the notion that the “JEDEC Documents are confidential materials that are not

 part of the knowledge of a POSA.” Id. at 9. Netlist offers no support for its proposition that

 JEDEC members are persons of “extraordinary skill.” As explained above, the JEDEC

 Documents were readily available to interested members of the relevant public, including Netlist

 and Samsung, as well as many others in the field.

        According to Netlist, “Mr. McAlexander does not rely on these documents as ‘evidence

 of what was known by a POSA,’” ignoring Mr. McAlexander’s multiple express statements to

 the contrary. Ex. 2 at ¶¶ 286, 698 (“the JEDEC proposals are each evidence of what was known

 in the field at the time”), id. at n.97, 100 (“The JEDEC materials are at least evidence of what

 was known by one of ordinary skill in the art.”); id. at n.114, 115 (“The JEDEC materials

 described below are at least evidence of what was known by others prior to the alleged

 invention.”). Netlist’s arguments about treating multiple JEDEC Documents as a single prior art

 reference misconstrues Mr. McAlexander’s analysis. Knowledge before the invention date is a

 proper basis for anticipation. See 35 U.S.C. § 102 (“the invention was known or used by others

 in this country, or patented or described in a printed publication in this or a foreign country,

 before the invention thereof by the applicant for patent”). As explained by Mr. McAlexander,

 each set of JEDEC Documents is evidence of the technology being discussed at JEDEC, and



                                                  12
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 17 of 23 PageID #: 42539




 therefore constitute knowledge of the person of ordinary skill at the time.

        QBM documents: Netlist does not dispute the dates of the QBM documents describing

 QBM’s system art or Netlist’s knowledge of these documents prior to the alleged invention dates

 of the ’339 and ’506 patents, but focuses its argument on public accessibility and motivation to

 combine. Mr. McAlexander explained that the relied-upon QBM documents were from Kentron

 Technologies Inc. (“Kentron”) and describe QBM technology that Kentron developed between at

 least 1999 and 2005. Ex. 2 at ¶¶ 258-259. As with the JEDEC Documents, Mr. McAlexander

 stated that “[t]he QBM system described below is at least evidence of what was known by others

 prior to the alleged invention.” Ex. 2 at n.98, 101. He also explained that, between 1999 and

 2005, Kentron regularly disclosed technical details of QBM to members of JEDEC and of the

 QBM Alliance, which included Netlist and other industry members, as evidenced by QBM

 Alliance newsletters and the QBM web page containing links to QBM-related documents. Ex. 2

 at ¶¶ 1179, 1186. Mr. Karabatsos, a former Principal of Kentron, confirmed these facts in his

 deposition, which occurred after Mr. McAlexander submitted his Opening Report. See, e.g., Ex.

 9 at 52:6-16, 101:4-102:7. Mr. Karabatsos also confirmed that the purpose of creating

 documents relating to the QBM technology, such as the documents on which Mr. McAlexander

 relied, was to disseminate the information to the industry. See, e.g., id. at 101:16-23. The QBM

 system is, therefore, evidence of what is “known or used by others” under Section 102(a).

                F.      Mr. McAlexander’s Opinions Regarding Other Litigations Are
                        Relevant

        Contrary to Netlist’s assertion, Netlist’s other litigations discussed by Mr. McAlexander

 are highly relevant. Dkt. No. 212 at 13.7 The litigations are germane to Samsung’s equitable



   7
    Samsung notes that paragraphs 242-244 that Netlist requests to strike on these grounds do not
 include any reference to “other litigations.”
                                                 13
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 18 of 23 PageID #: 42540




 defenses. As discussed above, the litigations involving patents in the ’339 and ’506 patents’

 families are relevant to the issue of prosecution laches, as they are part of the “totality of

 circumstances” that must be considered when evaluating the reasonableness of Netlist’s delay in

 filing these patent claims. See Section I.C.

        Netlist has also made the essentiality of its patents to the JEDEC standards an issue when

 it relied on the JEDEC DDR4 LRDIMM and various DDR5 DIMM standards in Netlist’s

 infringement contentions. Ex. 10 at 44 (“

                                                                             .”). Although Netlist

 never disclosed the ’339, ’506, ’918, or ’054 patents to JEDEC, it did disclose related patents as

 relevant to the DDR4 LRDIMM standard.8 The ITC, however, found that DDR4 standard

 compliant LRDIMMs did not infringe certain patents related to the ’339 patent. Ex. 2 at ¶¶ 171-

 174. These facts undermine Netlist’s claims about standard essentiality, and Mr. McAlexander

 should be able to consider them as part of his analysis. Mr. McAlexander’s reliance on such

 relevant facts should not be struck.9

                G.      Mr. McAlexander’s Reliance on Background Art Is Proper

        Netlist’s request to exclude Mr. McAlexander’s discussion of “U.S. Patents, theses, text

 books, product specifications, and other technical documents” to show the state of the art should

 be denied. Dkt. No. 212 at 13. These opinions are part of Attachment D to Mr. McAlexander’s

 report, which he describes as “[a]n overview of the technology in this case.” Ex. 2 at ¶ 73. For



   8
     Netlist never declared any patent essential to the DDR5 standard.
   9
     Similarly, Netlist relies on the disclosure of related patents to Samsung regarding the
 LRDIMM DDR4 standard for its willfulness allegations. As discussed in Samsung’s Motion for
 Summary Judgment of No Willful Infringement, these disclosures are insufficient for Netlist to
 meet its burden to prove willful infringement. See Dkt. No. 200 at 7. However, to the extent the
 Court allows the jury to hear this issue, the ITC’s finding that DDR4 LRDIMM products did not
 infringe patents related to the patents-in-suit in this case would be highly relevant context.
                                                   14
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 19 of 23 PageID #: 42541




 example, the paragraphs at issue discuss the state of the art of DIMM technologies that predate

 Netlist’s patents. Ex. 11 at ¶¶ 154-157, 165-193, 196-207.

         The Local Rules and District precedent permit Mr. McAlexander to consider background

 evidence of the state of the art at the time of the invention regardless of whether Samsung

 included this information in its invalidity contentions. The Local Patent Rules “do not expressly,

 or by implication, require the production of all evidence that may be relevant in any way to the

 issue of obviousness, such as background evidence going to the state of the art at the time of the

 invention.” Allergan v. Teva, No. 15-cv-1455-WCB, 2017 U.S. Dist. LEXIS 225041, at *12-13

 (E.D. Tex. Aug. 3, 2017). And Defendants are not required “to identify all the evidence,

 including evidence as to the state of the technology and evidence as to the knowledge of persons

 of skill in the art, that might bear on the issue of obviousness.” Id. at *13.

         Courts in this district have “permitted defendants to rely on references that were not

 included in their invalidity contentions when the references were not proposed as invalidating

 prior art, but were directed to other purposes, such as showing the state of the art at the time of

 the invention . . . .” Id. at *15; see also Ziilabs Inc. v. Samsung Elecs. Co., No. 2:14-cv-203,

 2015 WL 7303352, at *2 (E.D. Tex. Aug. 25, 2015) (stating “background art can be relied upon

 in an expert's report outside of the content off the P.R. 3-3- disclosures” including as “(1)

 background material relevant to the technology at issue; (2) state of the art; and (3) establishing

 what one of skill in the art would have known at the time of invention.”). Moreover, Mr.

 McAlexander’s reliance on Samsung prior art is not “irrelevant.” Dkt. No. 212 at 14. Prior art is

 relevant to the state of the art regardless of its source.

 II.     CONCLUSION

         For the aforementioned reasons, Netlist’s motion should be denied.



                                                    15
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 20 of 23 PageID #: 42542




 Date: February 17, 2023             Respectfully submitted,

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                                       16
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 21 of 23 PageID #: 42543




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                                       17
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 22 of 23 PageID #: 42544




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                                       18
Case 2:21-cv-00463-JRG Document 272 Filed 02/22/23 Page 23 of 23 PageID #: 42545




                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was filed

 electronically in compliance with Local Rule CV-5 on February 17, 2023. As of this date, all

 counsel of record have consented to electronic service and are being served with a copy of this

 document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A) and by email.


                                                      /s/ Francis J. Albert




              CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        I certify that the following document is authorized to be filed under seal pursuant to the

 Protective Order entered in this case.

                                                      /s/ Francis J. Albert




                                                 19
